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LOSS MITIGATION PROGRAM PROCEDURES

                                           I. PURPOSE

        The Loss Mitigation Program is designed to function as a forum in individual bankruptcy
cases for debtors and lenders to reach consensual resolution whenever a debtor’s residential
property is at risk of foreclosure. The Loss Mitigation Program aims to facilitate resolution by
opening the lines of communication between the debtors’ and lenders’ decision-makers. While
the Loss Mitigation Program stays certain bankruptcy deadlines that might interfere with the
negotiations or increase costs to the loss mitigation parties, the Loss Mitigation Program also
encourages the parties to finalize any Settlement (as defined below) under bankruptcy court
protection, instead of seeking dismissal of the bankruptcy case.

                              II. LOSS MITIGATION DEFINED

         The term “loss mitigation” is intended to describe the full range of solutions that may
avert the loss of a debtor’s property to foreclosure, increased costs to the lender, or both. Loss
mitigation commonly consists of the following general types of agreements, or a combination of
them: loan modification, loan refinance, forbearance, short sale, or surrender of the property in
full satisfaction. The terms of a loss mitigation solution will vary in each case according to the
particular needs, interests, and goals of the parties.

                                       III. ELIGIBILITY

        The following definitions are used to describe the types of parties, properties, and loans
that are eligible for participation in the Loss Mitigation Program:

A.     DEBTOR

        The term “Debtor” means any individual debtor in a case filed any Chapter 7, 11, 12, or
13 of the Bankruptcy Code, including joint debtors, whose case is assigned to Chief Judge Carla
E. Craig, Judge Dorothy T. Eisenberg, or Judge Elizabeth S. Stong, or Judge Joel B. Rosenthal,
or any other judge who elects to participate in the Loss Mitigation Program.

B.     PROPERTY

       The term “Property” means any real property, including condominiums or cooperative
apartments, used as the Debtor’s principal residence, in which the Debtor holds an interest.

C.     LOAN

        The term “Loan” means any mortgage, lien, or extension of money or credit secured by
eligible Property or stock shares in a residential cooperative, regardless of whether the Loan (1)
is considered to be “subprime” or “non-traditional;” (2) was in foreclosure prior to the
bankruptcy filing; (3) is the first or junior mortgage or lien on the Property; or (4) has been
“pooled,” “securitized,” or assigned to a servicer or to a trustee.
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D.     CREDITOR

       The term “Creditor” means any holder, mortgage servicer, or trustee of an eligible Loan.

                                 IV. ADDITIONAL PARTIES

A.     OTHER CREDITORS

        Any party may request, or the bankruptcy court may direct, more than one Creditor to
participate in the Loss Mitigation Program, where it may be of assistance to obtain a global
resolution.

B.     CO-DEBTORS AND THIRD PARTIES

        Any party may request, or the bankruptcy court may direct, a co-debtor or other third
party to participate in the Loss Mitigation Program, where the participation of such party may be
of assistance, to the extent that the bankruptcy court has jurisdiction over the party or the party
consents.

C.     CHAPTER 13 TRUSTEE

        Any party may request, or the bankruptcy court may direct, the Chapter 13 Trustee to
participate in the Loss Mitigation Program to the extent that such participation is consistent with
the Chapter 13 Trustee’s duty under Bankruptcy Code Section 1302(b)(4) to “advise, other than
on legal matters, and assist the debtor in performance under the Chapter 13 plan.”

D.     MEDIATOR

       Any party may request, or the bankruptcy court may direct, a mediator from the
Mediation Register maintained by the United States Bankruptcy Court for the Eastern District of
New York to participate in the Loss Mitigation Program.

                      V. COMMENCEMENT OF LOSS MITIGATION

        Parties are encouraged to request to enter into the Loss Mitigation Program as early in the
case as possible, but a request may be made at any time as follows.

A.     BY THE DEBTOR

        1.      In a case under Chapter 13, the Debtor may request to enter into the Loss
Mitigation Program with a particular Creditor in the Chapter 13 plan, and shall note the making
of the request in the docket entry for the plan. The Creditor shall have 21 days to object. If no
objection is filed, the bankruptcy court may enter an order referring the parties to the Loss
Mitigation Program (a “Loss Mitigation Order”).

        2.     A Debtor may serve and file a request to enter into the Loss Mitigation Program
with a particular Creditor. The Creditor shall have 14 days to object. If no objection is filed, the
bankruptcy court may enter a Loss Mitigation Order.
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        3.      If a Creditor has filed a motion for relief from the automatic stay pursuant to
Bankruptcy Code Section 362 (a “Lift-Stay Motion”), the Debtor may serve and file a request to
enter into the Loss Mitigation Program at any time before the conclusion of the hearing on the
Lift-Stay Motion. The bankruptcy court will consider the Debtor’s request and any opposition
by the Creditor at the hearing on the Lift-Stay Motion.

B.     BY A CREDITOR

       A Creditor may serve and file a request to enter into the Loss Mitigation Program. The
Debtor shall have 14 days to object. If no objection is filed, the bankruptcy court may enter a
Loss Mitigation Order.

C.     BY THE BANKRUPTCY COURT

        The bankruptcy court may enter a Loss Mitigation Order at any time after notice to the
parties to be bound (the “Loss Mitigation Parties”) and an opportunity to object.

D.     HEARING ON OBJECTION

        If any party files an objection, the bankruptcy court shall hold a hearing on the request to
enter the Loss Mitigation Program and the objection, and shall not enter a Loss Mitigation Order
until the objection has been heard.

                                VI. LOSS MITIGATION ORDER

A.     DEADLINES

       A Loss Mitigation Order shall contain:

       1.     The date by which contact persons and telephone contact information shall be
provided by the Loss Mitigation Parties.

       2.      The date by which each Creditor shall initially contact the Debtor.

      3.      The date by which each Creditor shall transmit any request for information or
documents to the Debtor.

      4.      The date by which the Debtor shall transmit any request for information or
documents to each Creditor.

         5.      The date by which a written status report shall be filed, or the date and time for a
status conference and oral status report (whether written or oral, a “Status Report”). In a Chapter
13 case, the status conference shall coincide, if possible, with a hearing on confirmation of the
Chapter 13 plan. A date to file a written report shall be, if possible, not later than 7 days after the
initial loss mitigation session.

       6.      The date when the loss mitigation process (the “Loss Mitigation Period”) shall
terminate, unless extended.
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B.     EFFECT

       During the Loss Mitigation Period:

       1.      A Creditor may contact the Debtor directly, and it shall be presumed that such
contact does not violate the automatic stay.

        2.      A Creditor may not file a Lift-Stay Motion, except where necessary to prevent
irreparable injury. A Lift-Stay Motion filed by the Creditor before the entry of the Loss
Mitigation Order shall be adjourned to a date following the Loss Mitigation Period, and the stay
shall be extended pursuant to Bankruptcy Code Section 362(e).

       3.      In a Chapter 13 case, the date by which a Creditor must object to confirmation of
the Chapter 13 plan shall be extended to a date that is at least 14 days following the Loss
Mitigation Period.

      4.     Federal Rule of Evidence 408 shall apply to communications, information and
documents exchanged by the Loss Mitigation Parties in connection with the Loss Mitigation
Program.

            VII. DUTIES UPON COMMENCEMENT OF LOSS MITIGATION

A.     GOOD FAITH

        The Loss Mitigation Parties shall negotiate in good faith. A party that does not
participate in the Loss Mitigation Program in good faith may be subject to sanctions.

B.     CONTACT INFORMATION

       1.      The Debtor: The Debtor shall provide written notice to each Loss Mitigation
Party of the manner in which the Creditor shall contact the Debtor or the Debtor’s attorney. This
may be done in the request to enter the Loss Mitigation Program.

       2.      The Creditor: Each Creditor shall provide written notice to the Debtor of the
name, address and direct telephone number of the contact person with authority to act on the
Creditor’s behalf. This may be done in the request to enter the Loss Mitigation Program.

C.     STATUS REPORT

        The Loss Mitigation Parties shall provide a written or oral Status Report to the
bankruptcy court within the period set in the Loss Mitigation Order. The Status Report shall
indicate how many loss mitigation sessions have occurred, whether a resolution has been
reached, and whether a Loss Mitigation Party believes that additional sessions may result in
partial or complete resolution. A Status Report may include a request for an extension of the
Loss Mitigation Period.
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D.     BANKRUPTCY COURT APPROVAL

       The Loss Mitigation Parties shall seek bankruptcy court approval of any Settlement
reached during loss mitigation.

                             VIII. LOSS MITIGATION PROCESS

A.     INITIAL CONTACT

        Following entry of a Loss Mitigation Order, the contact person designated by each
Creditor shall contact the Debtor and any other Loss Mitigation Party within the time set by the
bankruptcy court. The Debtor may contact any Loss Mitigation Party at any time. The purpose
of the initial contact is to create a framework for the loss mitigation session and to ensure that the
Loss Mitigation Parties are prepared. The initial contact is not intended to limit the issues or
proposals that may arise during the loss mitigation session.

       During the initial contact, the Loss Mitigation Parties shall discuss:

       1.      The time and method for conducting the loss mitigation sessions.

       2.      The loss mitigation alternatives that each party is considering.

       3.      The exchange of information and documents before the loss mitigation session,
including the date by when the Creditor shall request information and documents from the
Debtor and the date by when the Debtor shall respond. All information and documents shall be
provided at least seven days before the first loss mitigation session.

B.     LOSS MITIGATION SESSIONS

       Loss mitigation sessions may be conducted in person, by telephone, or by video
conference. At the conclusion of each loss mitigation session, the Loss Mitigation Parties shall
discuss whether and when to hold a further session, and whether any additional information or
documents should be exchanged.

C.     BANKRUPTCY COURT ASSISTANCE

       At any time during the Loss Mitigation Period, a Loss Mitigation Party may request a
settlement conference or status conference with the bankruptcy judge.

D.     SETTLEMENT AUTHORITY

        At a loss mitigation session, each Loss Mitigation Party shall have a person with full
settlement authority present. At a status conference or settlement conference with the
bankruptcy court, each Loss Mitigation Party shall have a person with full settlement authority
present. If a Loss Mitigation Party is appearing by telephone or video conference, that party
shall be available beginning thirty minutes before the conference.
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               IX. DURATION, EXTENSION AND EARLY TERMINATION

A.     INITIAL PERIOD

       The initial Loss Mitigation Period shall be set by the bankruptcy court in the Loss
Mitigation Order.

B.     EXTENSION

       1.      By Agreement: The Loss Mitigation Parties may agree to extend the Loss
Mitigation Period by stipulation to be filed not less than one business day before the Loss
Mitigation Period ends.

         2.     In the Absence of Agreement: A Loss Mitigation Party may request to extend the
Loss Mitigation Period in the absence of agreement by filing and serving a request to extend the
Loss Mitigation Period on the other Loss Mitigation Parties, who shall have seven days to object.
If the request to extend the Loss Mitigation Period is opposed, then the bankruptcy court shall
schedule a hearing on the request. The bankruptcy court may consider whether (1) an extension
of the Loss Mitigation Period may result in a complete or partial resolution that provides a
substantial benefit to a Loss Mitigation Party; (2) the party opposing the extension has
participated in good faith and complied with these Loss Mitigation Procedures; and (3) the Loss
party opposing the extension will be prejudiced.

C.     EARLY TERMINATION

        1.      Upon Request of a Loss Mitigation Party: A Loss Mitigation Party may request to
terminate the Loss Mitigation Period by filing and serving a request to terminate the Loss
Mitigation Period on the other Loss Mitigation Parties, who shall have seven days to object. If
the request to terminate the Loss Mitigation Period is opposed, then the bankruptcy court shall
schedule a hearing on the request. Notice may be modified for cause if necessary to prevent
irreparable injury.

        2.      Dismissal of the Bankruptcy Case: A Chapter 13 bankruptcy case shall not be
dismissed during the pendency of a Loss Mitigation Period, except (1) upon motion of the
Chapter 13 Trustee or the United States Trustee for failure to comply with the requirements of
the Bankruptcy Code; or (2) upon the voluntary request of the Chapter 13 Debtor. A Chapter
13 Debtor may not be required to request dismissal of the bankruptcy case as part of a
Settlement during the Loss Mitigation Period. If a Chapter 13 Debtor requests voluntary
dismissal during the Loss Mitigation Period, the Debtor shall indicate whether the Debtor agreed
or intends to enter into a Settlement with a Loss Mitigation Party.

D.     DISCHARGE

       The Clerk of the Court shall not enter a discharge during the pendency of a Loss
Mitigation Period.
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                                      X. SETTLEMENT

       The bankruptcy court shall consider any agreement or resolution (a “Settlement”)
reached during loss mitigation and may approve the Settlement, subject to the following
provisions:

       1.      Implementation: A Settlement may be noticed and implemented in any manner
permitted by the Bankruptcy Code and Federal Rules of Bankruptcy Procedure (the “Bankruptcy
Rules”), including but not limited to a stipulation, sale, Chapter 11 plan of reorganization, or
Chapter 13 plan.

        2.      Fees, Costs, or Charges: If a Settlement provides for a Creditor to receive
payment or reimbursement of any expense arising from the Creditor’s participation in the Loss
Mitigation Program, that expense shall be disclosed to the Debtor and the bankruptcy court
before the Settlement is approved.

       3.      Signatures: Consent to the Settlement shall be acknowledged in writing by the
Creditor representative who participated in the loss mitigation session, the Debtor, and the
Debtor’s attorney, if applicable.

        4.      Hearing: Where a Debtor is represented by an attorney, a Settlement may be
approved by the bankruptcy court without further notice, or upon such notice as the bankruptcy
court directs, unless additional notice or a hearing is required by the Bankruptcy Code or
Bankruptcy Rules. Where a Debtor is not represented by counsel, a Settlement shall not be
approved until the bankruptcy court conducts a hearing at which the Debtor shall appear in
person.

        5.     Dismissal Not Required: A Debtor shall not be required to request dismissal
of the bankruptcy case in order to effectuate a Settlement. In order to ensure that the
Settlement is enforceable, the Loss Mitigation Parties shall seek bankruptcy court approval of the
Settlement. Where the Debtor requests or consents to dismissal of the bankruptcy case as part of
the Settlement, the bankruptcy court may approve the Settlement as a “structured dismissal,” if
such relief complies with the Bankruptcy Code and Bankruptcy Rules.

                         XI. LOSS MITIGATION FINAL REPORT

        Debtor’s counsel (or the Debtor, if the Debtor is proceeding without attorney
representation) shall file with the Court a Loss Mitigation Final Report. The form of Loss
Mitigation Final Report is on the Court’s website. The Loss Mitigation Final Report shall be
filed no later than 14 days after termination of the Loss Mitigation Period. Termination occurs:

       1.      when the Court enters an order terminating the Loss Mitigation Period;

       2.      when the Court approves a stipulated agreement that has been presented to
               the Court, which provides for settlement or resolution of the Loss Mitigation; or

       3.      upon expiration of the Loss Mitigation Period.
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        Where two or more requests for Loss Mitigation have been made in a case, for
different properties or different mortgages on a property, a separate Loss Mitigation Final
Report must be filed with respect to each request.

                   XII. COORDINATION WITH OTHER PROGRAMS

        [Provision may be added in the future to provide for coordination with other loss
mitigation programs, including programs in the New York State Unified Court System.]
